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ATTORNEY 98 BY RIOT Na RAPP BeuMAeENt 20-2 Filed 04/27/15 Page 1 of 2—PagetDH-t24
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#5 COMPANY STREET
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF UNITED STATES DIST.
STREET ADDRESS:
MAILING ADDRESS:
CITYAND ZIPCODE: CA
BRANCH NAME: UNITED STATES DISTRICT COURT

 

 

PLAINTIFF/PETITIONER: HAVENSIGHT CAPITAL LLC, USVI CORPORATION CASE NUMBER:
PROOF OF SERVICE OF SUMMONS menses

 

 

 

 

(Separate proof of service is required for each party served. )
1. At the time of service | was at least 18 years of age and not a party to this action.

2 | served copies of:

a. [_X_] summons
b. [ X_] complaint

Cc. Alternative Dispute Resolution (ADR) package
Civil Case Cover Sheet (served in complex cases only)
cross-complaint

other (specify documents):
CIVIL COVER SHEET

NOTICE OF INTRESTED PARTIES

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3. a. Party served (specify name of party as shown on the documents served) :
THE PEOPLES REPUBLIC OF CHINA

b. [x] Person served (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
under item 5b on whom substituted service was made) (specify name and relationship to the party name in item 3a)

4. Address where the party was served:
3505 INTERNATIONAL PLACE N.W. WASHINGTON D.C. 200008

5. | served the party (check proper box)

a. ed by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date): (2) at (time):

b. by substituted service. On (date):2/24/2015 at (time): 2:16PM | left the documents listed in item 2 with or
in the presence of (name and title or relationship to the party named in item 3b):
JOHN DOE, 40YRS, 5! 6", 171LBS, M, A, BLK HAIR, person in charge of business over 18.

(1) [x] (business) a person at least 18 years of age apparently in charge at the office or usual place of business
of the person served. | informed him or her of the general nature of the papers .

(2) Ey (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
place of abode of the person | served. | informed him or her of the general nature of the papers .

(3) fot (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
address of the person to be served, other than a United States Postal Service post office box. | informed
him or her of the general nature of the Papers. ;

(4) [x] | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
at the place where the copies were left (Code Civ. Proc., § 415.20). | mailed documents on

 

(date): 02/24/15 from (city)MONTEREY PARK, CA or{__] a declaration of mailing is attached.
(5) [_] | attach a declaration of diligence stating actions taken first to attempt personal service.
PP#: 5552 Page 1 of 2
Form Adopted for Mandatory Use PROOF OF SERVICE OF SUMMONS Code Civil Procedure, § 4117.10

Judicial Council of California
POS-010 (Rev January 1, 2007)
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|DEFENDANT/ RESPONDENT: THE PEOPLES REPUBLIC oF CHINA 2:15cv1206-DDP-FFMx

5. c[_] bymailand acknowledgement of receipt of service. | mailed the documents listed in item 2 to the party, to the
address shown in item 4, by first-class mail, postage prepaid,
(1) on (date): (2) from (city):

(3) [__] with two copies of the Notice and Acknowledgment of Receipt (form 982(a)(4)) and a postage-paid return
envelope addressed to me. (Attach completed Notice and Acknowledgement of Receipt (form 982(a)(4).)
(Code Civ. Proc., § 415.30)

(4) Fez) to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40)

d. [__] by other means (specify means of service and authorizing code section):

[__] Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:
a. [___] as an individual defendant.
b. [_] as the person sued under the fictitious name of (specify):
¢. on behalf of (specify): THE PEOPLES REPUBLIC OF CHINA

under the following Code of Civil Procedure Section:
416.10 (corporation)

416.20 (defunct corporation)

416.30 (joint stock company/association)
416.40 (association or partnership)
416.50 (public entity)

415.95 (business organization, form unknown)
416.60 (minor)

416.70 (ward or conservatee)

416.90 (authorized person)

415.46 (occupant)

other:

   

7. Person who served papers
ROBERT BRIGGS-SNODGRASS

a. Name:

INSTANT PROCESS SERVICE
b. Address:
5 elepnone number: MONTEREY PARK, CA 91754
d. The fee for service was: $ 120.00 (626) 284-2418
e. lam:

(1) Ly not a registered California process server.
(2) exempt from registration under Business and Professions Code section 22350(b).
(3) registered California process server.

(i) i owner C employee [] independent contractor.
eg

7. ce °* LOS ANGELES 5326

8. [x] | declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

or
9. [___]! am a California sheriff, marshal, or constable and | certify that the foregoing is true and correct.

Date: 2/25/2015

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ROBERT BRIGGS-SNODGRASS LUT bens befoes
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(NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL) (Ss

PP#: 5552
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